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                                                                                                    09/10/2018




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Attorneys for Movant,
US Bank Trust National Association, as Trustee of Igloo Series II Trust, its successors and/or
assignees

                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

IN RE:                                                         § CASE NO.: 17-40576
                                                               §
Michael Warren Scott                                           § CHAPTER 13
Linda Kaye Scott                                               §
                                                               §
       DEBTOR,                                                 §
                                                               §
                                                               §
US Bank National Association, as Trustee of                    §
Igloo Series II Trust, its successors and/or                   §
assignees,                                                     §
                                                               §
       MOVANT,                                                 §
                                                               §
Michael Warren Scott                                           §
Linda Kaey Scott, Debtors, and                                 §
Carey D. Ebert, Trustee                                        §
                                                               §
       RESPONDENTS.                                            §
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       ADEQUATE PROTECTION ORDER ON MOTION FOR RELIEF FROM
  AUTOMATIC STAY AGAINST PROPERTY OF THE ESTATE PURSUANT TO 11
  U.S.C. SECTIONS 362(d)(1) OF THE BANKRUPTCTY CODE (WITH WAIVER OF
                   THIRTY DAY HEARING REQUIREMENT)

On this day came on for consideration the Motion for Relief from Automatic Stay filed by US
Bank Trust National Association, as Trustee of Igloo Series II Trust, its successors and/or
assignees (“Movant”), by and through the undersigned attorney, and moves this Court for an
Order Terminating the Automatic Stay of 11 U.S.C. § 362.

Movant by and through its attorney of record, The Law Offices of Michelle Ghidotti, by Kristin
A. Zilberstein, Esq., and the Debtors Michael Warren Scott and Linda Kaey Scott (“the
Debtors”), by and through their attorney of record, Holly B Guelich, The Law Office of Holly B.
Guelich agree as to all matters contained in the Motion for Relief and ask the Court to enter this
Agreed Order and Stipulation for Adequate Protection (the “Agreed Order”) evidencing the
terms of their agreement.

                                                    RECITALS


    1. On March 20, 2017, Debtors filed a petition under Chapter 13 of the United States
Bankruptcy Code, Petition No.: 17-40576 (the “Instant Petition”).
    2. The Debtors executed and delivered to First Franklin Financial Corporation, a Note,
dated October 25, 2002, with an original principal balance of $92,250.00 (the “Note”).
    3. Movant is the current owner of the Note and is in possession of the original Note.
    4. Concurrently therewith, and as security for the Note, the Borrowers executed and
delivered to First Franklin Financial Corporation, a Deed of Trust (“Deed of Trust”), dated
October 25, 2002, and filed of record with the County Clerk of Dallas County, Texas against the
Property, and more specifically described as:
       BEING LOT 1, BLOCK G, OF AMES MEADOW ADDITION, PHASE 2, AN
       ADDITION TO THE CITY OF LANCASTER, DALLAS COUNTY, TEXAS,
       ACCORDING TO THE PLAT THEREOF RECORDED IN VOLUME
      2002010, PAGE 153, MAP RECORDS, DALLAS COUNTY, TEXAS.
   1. On July 17, 2018, Movant filed its Motion for Relief from Stay (“Motion for Relief”)

   5. indicating that Debtors were due and owing for six (6) post-petition monthly payments as
follows:
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       Payments Due:                            Payment                               Total Default
       2/1/18-7/1/18                            6 @ $987.23                           =        $5,923.38


       6. Movant incurred attorney’s fees and costs in the amount of no less than $1,031.00 in connection

to the Motion for Relief from Stay.

       7. An additional payment came due on August 1, 2017 in the amount of $987.23.

       8. As of August 7, 2018 Debtors are due and owing for the February 1, 2018 payment and all

subsequent payments as follows:

                   Payments Due:                                   Payment                             Total Default

                 2/1/18-8/1/18                            7 @ $987.23                          =       $6,910.61

                 Attorney Fees                                                                 =       $1,031.00

                 Total Default                                                                 =       $7,941.61

       9. Based upon the foregoing facts, Movant and Debtors stipulate as follows:


                                                     STIPULATION

       10. Debtors shall make the payment due 9/1/2018 and all payments going forward in the


amount of $813.17 (or as may be adjusted pursuant to the terms of the Note and Deed of Trust)

continuing on the twenty eighth day of each month thereafter within the grace period until the

indebtedness is paid in full or a Court Order is entered to the contrary.

       11. Debtors shall cure their post-petition arrearage in the amount of $7,941.61 calculated through

August 7, 2018. Commencing 9/15/2018, an continuing thereafter on the fifteenth day of each

month through and including 12/15/2018, Debtors shall make an additional payment each month

to Movant in the amount of $496.35 until current, as follows:

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              16 monthly payments                      at $496.35                           =       $6,910.61
              9/15/2018-12/15/2019
             Attorney Fees                                                                  =       $1,031.00
             Total Default                                                                  =       $7,941.61


   12. In addition to maintaining their mortgage payments, the Debtors shall be required to maintain all

plan payments to the Chapter 13 Trustee.

   13. Debtors must also maintain current insurance coverage on the Property and must

remain current on all post-petition taxes where applicable.

   14. Upon any default in the terms and conditions set forth in paragraphs 10 through 13

of this Adequate Protection Agreement, Movant must serve written notice of default to the

Debtors’ attorney of record, if any, sent by U.S. Mail and Electronic Mail. Movant must also

serve written notice of default to the Debtors by U.S. Mail. If the Debtors fail to cure the default

within 10 days after service of such written notice Movant may file and serve a declaration under

penalty of perjury specifying the default, together with a proposed order terminating the sty,

which the court may grant without further notice or hearing.

   15. Notwithstanding anything contained in this Adequate Protection Agreement to the contrary, The

Debtors shall be entitled to a Maximum of Two Notices of Default and Opportunities to cure

pursuant to the preceding paragraph. Once the Debtors has defaulted one time on the obligations

imposed by this order and has been served with one Notice of Default, Movant is relieved of any

obligation to serve additional notices of default or to provide additional opportunities to cure. If

an event of default occurs thereafter, Movant will be entitled, without first serving a notice of

default or providing the Debtors with an opportunity to cure, to file and serve a declaration under

penalty of perjury setting forth in detail the Debtors’ failures to perform under this Adequate

Protection Agreement, together with a proposed order terminating the stay, which the court may

enter without further notice or hearing.
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   16. Movant shall be entitled to charge a fee of $150.00 for any ten (10) day written notice required

because of default.

   17. Movant may accept any and all payments made pursuant to this Order without prejudice to or

waiver of any rights or remedies to which Movant would otherwise have been entitled under

applicable nonbankruptcy law.

   18. This Adequate Protection Agreement is binding only during the pendency of this bankruptcy

case. If, at any time, the stay is terminated with respect to the Property by court order or by

operation of law, this Adequate Protection Agreement ceases to be binding and Movant may

proceed to enforce its remedies under applicable nonbankruptcy law against the Property and/or

against the Debtors.

   19. If Movant obtains relief from stay based on the Debtors’ default under this Adequate Protection

Agreement, the order granting relief will contain a waiver of the 14-day stay as provided in

FRBP 4001(a)(3).

   20. In the event this case is converted to a Chapter 7 proceeding, the Automatic Stay shall be

terminated without further notice, order or proceedings of the court. If the Automatic Stay is

terminated as a matter of law, the terms of this Order shall immediately cease in effect and

Movant may proceed to enforce its remedies under non-bankruptcy law against the Property

and/or the Debtors.

   21. ORDERED to the extent the Property is foreclosed on and sold, any excess proceeds

from the sale shall be turned over to the Trustee with a reservation of the issue as to whether

the Debtor is entitled to such funds.
                                                            Signed on 9/10/2018
                                                         ###
                                                        SR
AGREED TO AND APPROVED BY: HONORABLE BRENDA T. RHOADES,
                           UNITED STATES BANKRUPTCY JUDGE
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